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                      UNITED STATES DISTRICT COURT
                                                                      U.:
                       SOUTHERN DISTRICT OF GEORGIA

                             SAVANNAH DIVISION                       2016 P —8 MIlD: 42
                                                                CL
UNITED STATES OF AMERICA,                                               SO. Dis It1F GA.
               Plaintiff,

V.                                      4 : 10CR159

DERRICK JOHNSON,

               Defendant.


                                  ORDER

       This case is before the Court for a preliminary hearing

pursuant to Rule 32.1, Fed. R. Crim. P., to determine whether there

is probable cause to hold the defendant for a revocation hearing.

Based on the stipulation by the defendant at the hearing, the Court

finds that there is probable cause to believe that the defendant

has violated conditions of his supervised release and, therefore,

that he should be held for a revocation hearing before the Court

holding jurisdiction over this matter.

       Based on the evidence presented at the hearing, the Court

finds that the probationer is not likely to flee or pose a danger

to the community if released pending further proceedings. Fed. R.

Crim. P. 46(c); 18 U.S.C. 3143. IT IS HEREBY ORDERED that the

defendant be released under his present conditions of supervised

release pending the revocation hearing.

       SO ORDERED this_ay of September, 2016.
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                                  UNITED S ATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
